  Case: 1:16-cv-01153-TSB Doc #: 103 Filed: 10/20/21 Page: 1 of 3 PAGEID #: 2309




                       IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO



                                               )
                                               )
IN RE THE WENDY’S COMPANY                      )   CASE NO: 1:16-cv-01153-TSB
SHAREHOLDER DERIVATIVE ACTION                  )   JUDGE TIMOTHY S. BLACK
                                               )
                                               )

                                        NOTICE OF APPEAL

       Notice is hereby given that Thomas Caracci, a plaintiff in the above named action, hereby

appeals to the United States Court of Appeals for the Sixth Circuit from the Court Orders: (a)

granting Plaintiff Graham's Motion to Appoint Lead Counsel and denying Plaintiff Caracci's

Motion to Appoint Lead Counsel (Dkt. No. 49) entered on December 17, 2018; (b) granting

Plaintiff Graham’s Motion for Preliminary Approval of Derivative Litigation Settlement (Dkt.

No. 72), entered on January 24, 2020; (c) granting in part and denying in part Plaintiff Caracci’s

Motion for Leave to Conduct Discovery (Dkt. No. 84), entered on May 19, 2021; (d) denying

Plaintiff Caracci’s Motion for Relief from the Mediation Privilege; (e) granting Plaintiff

Graham’s Motion for Settlement (Dkt. No. 101), entered on September 15, 2021; and (f) the

Clerk’s Judgment affirming the Order granting the Motion for Settlement (Dkt. No. 102), entered

on September 24, 2021.
  Case: 1:16-cv-01153-TSB Doc #: 103 Filed: 10/20/21 Page: 2 of 3 PAGEID #: 2310




Dated: October 20, 2021                         Respectfully submitted,

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Counsel for Plaintiff Thomas Caracci
  Case: 1:16-cv-01153-TSB Doc #: 103 Filed: 10/20/21 Page: 3 of 3 PAGEID #: 2311




                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on October 20, 2021, a copy of the foregoing NOTICE OF

APPEAL was filed electronically with the Clerk of Court using the CM/ECF system. Notice of

this filing will be sent to all counsel of record registered to receive electronic service by

operation of the court’s electronic filing system.



                                                        s/ Richard L. Norton
                                                       Richard L. Norton
